       Case 2:05-cr-00384-WBS Document 25 Filed 04/18/06 Page 1 of 2


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 5
     Attorney for Defendant
 6   SANTOS AVILA BUSTAMANTE
 7
 8                  IN THE UNITED STATES DISTRICT COURT
 9             IN AND FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11
12   UNITED STATES OF AMERICA,           )             CR. S. 05-0384 WBS
                                         )
13                  Plaintiff,           )             ORDER
                                         )
14   v.                                  )
                                         )
15   SANTOS AVILA BUSTAMANTE, et al., )
                                         )
16                  Defendants.          )
     ___________________________________ )
17
18         Based upon the stipulation of the parties, and good cause appearing, IT IS
19   HEREBY ORDERED that the briefing schedule and non-evidentiary hearing
20   herein are re-scheduled as follows:
21         !     Defense moving papers to be filed by April 28, 2006.
22         !     Government opposition to be filed by May 12, 2006.
23         !     Optional defense reply to be filed by May 19, 2006.
24         !     Non-evidentiary hearing on May 31, 2006, at 9:00 a.m.
25   ///
26   ///
27   ///
28   ///
      Case 2:05-cr-00384-WBS Document 25 Filed 04/18/06 Page 2 of 2


 1         Further, IT IS ORDERED that time is excluded as per the terms of the
 2   stipulation between the parties.
 3
     DATE: April 17, 2006
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